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Appeal Docket Sheet
Docket Number: 650 WDA 2022

Supertor Court of Pennsylvania

 

 

Page 1 of 3 Secure
June 7, 2022 -
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Christine Biros

Vv.
U Lock Inc.
Appeal of: Mark Miles = Myoka _

o __ CASE INFORMATION | __

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Initiating Document: Notice of Appeal
Case Status: Active

Case Processing Status: June 7, 2022
Journal Number:

Case Category: Civil

[ues a. CONSOLIDATED CASES ~

Awaiting Original Record

“SCHEDULED EVENT

 

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Next Event Type: Receive Docketing Statement

Next Event Type: Original Record Received

 

Case Type(s):

Docket No / Reason

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Type
607 WDA 2022 Related
Same Issue(s)
615 WDA 2022 Related
Same Issue(s)
617 WDA 2022 Related

Same Issue(s)

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Next Event Due Date: June 21, 2022
Next Event Due Date: August 1, 2022

 

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IFP Status: No
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Appeal Docket Sheet

Docket Number: 650 WDA 2022
Page 2 of 3

June 7, 2022

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Superior Court of Pennsylvania

 

 

 

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Fee Dt Fee Name Fee Amt Receipt Dt Receipt No Receipt Amt
06/07/2022 Notice of Appeal 90.25 06/07/2022 2022-SPR-W-000391 90.25

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Order Appealed From: May 17, 2022
Order Type: Order Entered
Documents Received: June 7, 2022

Notice of Appeal Filed: June 1, 2022

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__ AGENCY/TRIAL COURT INFORMATION — - - :

 

 

Court Below: Westmoreiand County Court of Common Pleas
County: Westmoreland Division:

Judge: Smail, Harry F. OTN:
DocketNumber: 17 CJ 04886 Judicial District:

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Original Record |tem Filed Date

ORIGINAL RECORD CONTENT . ~

Westmoreland County Civil Division

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Content Description

 

Date of Remand of Record:

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None

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Filed Date Docket Entry / Representing Participant Type

_. BRIEFING SCHEDULE

_, BOGKETENTRY

Filed By

 
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Appeal Docket Sheet

Docket Number: 650 WDA 2022
Page 3 of 3

June 7, 2022

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L. |. _DOCKETENTRY

Filed Date
June 7, 2022

Docket Entry / Representing
Notice of Appeal Docketed

Participant Type

Appellant

June 7, 2022 Docketing Statement Exited (Civil)

Superior Court of Pennsylvania

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Filed By

Mycka, Mark Miles

Superior Court of Pennsylvania
